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                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

PHUONG THAO T. VU,                               §
                                                 §
         Plaintiff,                              §
                                                 §
v.                                               §
                                                 §
BANK OF AMERICA, N.A., U.S. BANK,                §
                                                     CIVIL ACTION NO. 4:14-CV-03397
N.A. AS TRUSTEE FOR THE                          §
CERTIFICATE HOLDERS OF                           §
                                                     JURY
CITIGROUP MORTGAGE LOAN                          §
TRUST, INC. CERTIFICATE SERIES                   §
2007-AMC1, and CHASE HOME                        §
FINANCE, LLC                                     §
                                                 §
         Defendants.                             §


                        STIPULATION OF DISMISSAL WITH PREJUDICE


         Plaintiff Phuong Thao T. Vu and Defendants Bank of America, N.A., U.S. Bank, N.A. as

Trustee for the Certificateholders of Citigroup Mortgage Loan Trust, Inc. Certificates Series

2007-AMC1, and JPMorgan Chase Bank, National Association, successor by merger to Chase

Home Finance LLC, (collectively “Defendants”) file this Stipulation of Dismissal with Prejudice

and respectfully show the Court the following:

1.       Plaintiff stipulates that all claims or causes of action she asserted or that she could have

asserted in this lawsuit are hereby dismissed with prejudice.

2.       Because no counter-claims or cross-claims were asserted, this Stipulation resolves this

entire civil action.

3.       Plaintiff and Defendants further stipulate that all costs and attorney’s fees are to be borne

by the party incurring same.


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         WHEREFORE, PREMISES CONSIDERED, Phuong Thao T. Vu, Bank of America,

N.A., U.S. Bank, N.A. as Trustee for the Certificateholders of Citigroup Mortgage Loan Trust,

Inc. Certificates Series 2007-AMC1, and JPMorgan Chase Bank, National Association,

successor by merger to Chase Home Finance LLC, respectfully present this Stipulation and

request the Court dismiss this civil action with prejudice, and for such other and further relief to

which they may be justly entitled.



                                              Respectfully submitted,

                                              /s/ Kathryn B. Davis
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                                              AND

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                                              PHUONG THAO T. VU

                                              AND


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                                                    /s/ Treyson J. Brooks, by permission
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                                                  COUNSEL FOR DEFENDANT JPMORGAN
                                                  CHASE BANK, NATIONAL ASSOCIATION,
                                                  SUCCESSOR BY MERGER TO CHASE
                                                  HOME FINANCE LLC



                                          CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was served to all counsel of record
via ECF in accordance with the Federal Rules of Civil Procedure, on December 9, 2015.


                                                   /s/ Treyson J. Brooks
                                                  Treyson J. Brooks




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